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TAB 20
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Russillo, Thomas January 8, 2009
Irvine, CA
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS
IN RE PHARMACEUTICAL INDUSTRY ) MDL No. 1456
AVERAGE WHOLESALE PRICE ) Master File No.
LITIGATION ) 01-12257-PBS :
:
)
THIS DOCUMENT RELATES TO: ) VIDEOTAPED
) DEPOSITION OF

United States of America ex rel. ) THOMAS RUSSILLO

Ven-a-Care of the Florida Keys, )

Inc., v. Boehringer Ingelheim ) JANUARY 8, 2009

Corp. et al., Civil Action No. )

07-10248-PBS, and The City of )
New York et al. v. Abbott )
Laboratories et al., Civil )
Action No. 03-10643-PBS. )

)

(Cross-noticed captions on following pages.)

Ton eu Lee gL RENN ca ee aaa AUEERE FF wat a RD Mia goo PSP Fas 6 AR ad HahanUadboean oon tftennal a MAUNA SRM I deeds ese Ae oe mentat dia Metin ie hten mish mi tatledlsiaoamtinias alot rete malt iete  ieiet eok ft

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7 (Pages 22 to 25)

22 24
1 Q Are you familiar with a company called 1 retained as president and chief operating officer
2 Bedford Labs? 2 of Ben Venue Laboratories.
3 A Yes, Iam. 3 So Ben Venue Laboratories, its contract
4 Q What is that? 4 manufacturing division, and Bedford Laboratories,
5 A That was the name of our generic division, 5 _ its generic marketing arm for injectables
6 Ben Venue's generic division. 6 manufactured by Ben Venue, was under my
7 Q So Bedford Laboratories is a part of 7 responsibility.
8 Ben Venue. Is that fair to say? 8 Sometime at the end of 1998, I was also
9 A That's right. That's correct. 9 given additional responsibilities for the Roxane
10 Q And are you familiar with a company called 10 ~—multisource business.
11 Boehringer Ingelheim Pharmaceuticals, Incorporated? {11 Q Did you ever have any responsibilities for
12 A Yes. 12 the branded drug business?
13 Q IflI refer to that as BIPI today, will you 13 A No, I did not.
14 understand that I mean Boehringer Ingelheim 14 Q What is Roxane Laboratories?
15 Pharmaceuticals, Incorporated? 15 A Roxane Laboratories, as [ understood them,
16 A Yes. 16 was a Columbus-based manufacturing operation that
17 Q Can you describe in general the business of 17 had some branded products and multisource products.
18  BIPI as of 1998? By business I mean, among other 18 Q And to your knowledge, you were never paid
19 things, the types of products the company marketed 19 by Roxane Laboratories?
20 and sold. 20 A That is correct.
21 A To the best of my knowledge, BIPI included [21 Q But in the course of your employment with
22 Ben Venue Laboratories, Roxane Laboratories,a |22 Ben Venue Laboratories, from some point in 1998
23 25 |i
1 consumer health business, and branded products. 1 onwards, you had responsibility for part of
2 Q To your knowledge, Roxane Laboratories was a 2 Roxane's business?
3 part of BIPI? 3 A That's correct.
4 AI believe it was. 4 Q I'm going to show you a document that the
5 Q Were you ever an employee of BIPI? 5 court reporter will mark as Exhibit 1.
6 A I think -- I'm not sure. I told you 6 (Exhibit Russillo 001 is marked.)
7 earlier, my paycheck came from Ben Venue. 7 Q BY MR. FAUCI: As a general ground rule for
8 Q Your paycheck came from Ben Venue? 8 whenever I show you a document, take time to
9 A Yes. 9 familiarize yourself with it. If it's a lengthy
10 Q Did your paycheck ever come from any other 10 document, I will try and direct your attention to
11 Boehringer Ingelheim entities from the period of 11 _ specific points of it.
12 November 1997 until 2005? 12 Are you familiar with this document?
13 A I don't believe so. 13 A I don't recall actually seeing this
14 Q Did you have any responsibility for any 14 document, but -- so I have to say no, I'm not
15 portions of BIPI's business? 15 familiar with this document.
16 A Yes. 16 Q At the top, it says "Roxane Laboratories,
17 Q What responsibilities were those? 17 Inc., Unanimous Written Consent of Directors." Do
18 A At what point in time are you talking about? |18 you see that?
19 Q Take me from 1998 up to the present, to the 19 A Yes, I do.
20 best of your ability. 20 Q Ifyou look at the last paragraph, beginning
21 A From 1997, November 1997, at the time of the [21 with the word "resolved."
22 acquisition, I was retained in my current title, 22 A Yes.

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8 (Pages 26 to 29)

26 28
1 Q Can you read that section for me? 1 which you became in charge of Roxane's marketing
2 A "Resolved that, effective October 23, 1998, 2 department for multisource drugs?
3. Mr. Thomas R. Russillo, President and Chief 3 A_ Yes, there was.
4 Operating Officer of this Corporation's affiliate, 4 Q And was that around the 1998 time frame?
5 Ben Venue Laboratories, Inc., of Bedford, Ohio, be, 5 A The end of 1998, yes.
6 and he hereby is, assigned responsibility for the 6 Q Was there anyone at Roxane that you had to
7 Marketing of Multisource Products, Medical Affairs, | 7 report to regarding marketing decisions for
8 Drug Regulatory Affairs, and Scientific Affairs 8 Roxane's multisource products?
9 functions of this Corporation." 9 MS. RIVERA: Object to form.
10 Q What does it mean that you were assigned 10 THE WITNESS: Werner Gerstenberg was the
11 responsibility for these functions? 11 president of Roxane Laboratories. As such, I had
12 A I'm not sure what this meant. I only know 12  anobligation to keep him informed as to what was
13. what happened. 13 going on.
14 Q Did you regard Ben Venue and Roxane as 14 Q BY MR. FAUCI: How often did you talk to
15 separate companies? 15 Mr. Gerstenberg?
16 A Yes, I did. 16 A I would say weekly.
17 Q Ifyou were an employee of Ben Venue, why do {17 Q Ifyou made a marketing decision on a
18 you think you were put in charge of Roxane’s 18  Roxane's product, did you have to run it by
19 marketing department? 19 Mr. Gerstenberg?
20 A_ I was put in charge of Roxane's multisource 20 A Not normally, no.
21 marketing because they marketed generics, and Ben |21 Q Were there occasions when you needed to have
22 Venue had been marketing generics since 1992. 22 Mr. Gerstenberg approve a Roxane marketing
27 29 |:
1 Q From November 1997 -- oh, sorry. Strike 1 decision?
2 that. 2 A_ Those occasions would have been limited.
3 From the date of this document, 3 And they would have been at my discretion to advise
4 October 1998, is it accurate to say that you were 4 him, as he was my supervisor.
5 in charge for the marketing of multisource products | 5 Q When might you have advised him of a
6 at Roxane? 6 decision that you wanted his sign-off on?
7 MS. RIVERA: Object to form. 7 A Idon't recall any specific ones.
8 THE WITNESS: I'm not sure of the exact date | 8 Q Was there anyone at Boehringer Ingelheim
9 it happened. It was at the end of 1998. 9 that you had to report to regarding marketing
10 Q BY MR. FAUCI: Ifyou look at the bottom, it [1° decisions for Roxane's multisource products?
11 says, "In witness whereof, we have duly signed this [11 MS. RIVERA: Object to form.
12 instrument effective as of the 14th day of October, [12 THE WITNESS: As I said earlier, I reported
13 1998." 13 to Werner Gerstenberg. So anything that I did as
14 Do you see that? 14 either Ben Venue COO or as head of multisource
15 A Yes, I do. 15 business, ultimately I reported to Werner.
16 Q From that point on, do you think it's fair 16 So anything that I thought was -- that he
17 to say that you were in charge of Roxane's 17 was in need of being aware of, I would advise him
18 marketing? 18 of.
19 MS. RIVERA: Object to form. 19 Q BY MR. FAUCI: Did you ever report to Shelly
20 THE WITNESS: I'm not sure that that's fair 20  Berkle?
21  tosay. No. 21 A No, I did not.
22 Q BY MR. FAUCI: Was there a point in time at |22 Q Other than Mr. Gerstenberg, can you think of ;

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9 (Pages 30 to 33)

30 32 I

1 anyone else that you reported to during your time 1 MS. RIVERA: Object to form. ;

2 from 1998 to the present -- to the end of your time 2 THE WITNESS: There were many branded

3 at Roxane? 3 generics. Some of those branded generics were

4 A Yes. 4 retained by the multisource division. So for those

5 Q Who else? 5 products, I would have still had responsibility.

6 A I reported -- Werner Gerstenberg retired in, 6 The others, the ones that were not -- they

7 believe, December of 2003 and was replaced by 7 were branded generics, but they were not part of

8 Marty Carroll as the new CEO. I reported tohim. | 8 — the multisource business, those products were 5

9 Q Anyone else? 9 transferred to BIPI. ;
10 A IT can't think of anyone. 10 Q BY MR. FAUCI: Who would have had ;
11 Q You said Roxane also marketed branded 11 responsibility for those products at BIPI? i
12 products? 12 A_ Well, there was a group of Roxane employees i
13 A Atsome point in time, yes. 13 who managed the branded Roxane business. ;
14 Q Are you familiar with the term "branded 14 Q Can you tell me who those people are? |
15 generic"? 15 A Again, they changed at various times. Ed
16 A Yes. 16  Tupa would be the name that comes to mind. :
17 Q_ What is a branded generic? 17 Q Did Shelly Berkle have responsibility for :
18 A As the name would indicate, it is a generic 18  Roxane’s branded generic products? -
19 that has been given a brand name. 19 A My recollection is that Ed Tupa at some
20 Q Who had responsibility for marketing 20 _ point in time reported to Shelly. :
21  Roxane's branded generics? 21 Q Do you know if Mr. Berkle had responsibility :
22 A At what point in time? 22 for Roxane’s branded generic products at any point |

31 33 |

1 — Q_ 1998 onwards. 1 in time? :

2 A Some of the branded generics became the 2 MS. RIVERA: Object to form. Asked and :

3 responsibility of Roxane multisource at the end of | 3 answered. :

4 1998. So [had responsibility, people who worked | 4 THE WITNESS: I think he had oversight of :

5 for me had responsibility. 5 that, just like I had oversight of multisource ;

6 Q Can you think of anyone else that had 6 business. ;

7 responsibilities for Roxane's branded generics? 7 Q BY MR. FAUCI: I'm going to direct your i

8 A As [I said, not all branded generics at 8 attention to the names at the bottom of this :

9 Roxane were my responsibility. 9 document, Exhibit 1. Who is Walter Poerschmann? :
10 Q Do you know whose responsibility they were? [10 A Walter Poerschmann was a German-based jl
11 MS. RIVERA: Object to form. 11 employee of Boehringer Ingelheim, who was head -- I
12 Q BY MR. FAUCI: Do you know -- let me 12 think he was head of North America and South :
13 rephrase that question. 13. America Ethical Pharmaceuticals. :
14 For the drugs at Roxane that you did not 14 Q What does Ethical Pharmaceuticals mean? '
25 have responsibility for marketing for, who was in 15 A Branded pharmaceuticals. i
16 charge of marketing? 16 Q What about Philip Franks? ;
17 MS. RIVERA: Object to form. 17 A Philip Franks was, I believe, the general |
18 MR. FAUCI: That's a horrible question. Let 18 counsel at the time. :
19 me rephrase that. 19 Q And Sheldon Berkle. Can you tell me who he
20 Q For the branded generic drugs at Roxane, can [20 was? 4
21 you tell me who had responsibility for marketing 21 A He was head of Ethical Pharmaceuticals
22 decisions? 22 business unit.

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13

(Pages 46 to 49)

46 48 :

1 whether Roxane's generic business was included in 1 THE WITNESS: I would assume it's because he |[;

2 the business unit Ethical Pharmaceuticals? 2 was head of branded business, and there was a i

3 A It doesn't change my opinion. 3 portion of the Roxane products that were in the :

4 Q Do you have any sense why Mr. Berkle would 4 branded business.

5 make that representation to the BIC board? 5 Q BY MR. FAUCI: And he was responsible for ‘

6 MS. RIVERA: Object to form and foundation. 6 those? i

7 THE WITNESS: I believe that on an 7 MS. RIVERA: Object to form.

8 organization chart, that's the way it was set up; 8 THE WITNESS: Ultimately.

9 but in actuality, that is not the way it was 9 Q BY MR. FAUCI: Below Mr. Berkle, your name |
10 operated. 10 _ is listed as "BV and RLI Multisource." Do you see i
11 Q BY MR. FAUCI: Was it common for Roxane 11 ‘that?

12 business to be discussed at BIC board meetings? 12 A Yes, Ido. :
13 MS. RIVERA: Object to form and foundation. 13 Q Does RLI refer to Roxane? '
14 THE WITNESS: I wasn't at BIC board meetings |14 A RLI refers to Roxane Labs, Incorporated. :
15 all the time, so I don't know how many or what was 15 Q And is this entry in the chart consistent
16 ~— discussed. 16 with your recollection that from 1990 -- in the :
17 Q BY MR. FAUCI: Do you have a recollection as |17 1999 time frame, you were in charge of the :
18 to approximately how many you attended? 18  multisource business at both Roxane and Ben Venue? |
19 A No, I don't. 19 A Would you repeat that question? Y
20 Q Was it more than one? 20 MR. FAUCI: Can you repeat that question, :
21 A I would imagine so. 21 please? :
22 Q Let's look at a new document that the court 22 (Record is read.) i

47 49 |

1 reporter will mark as Exhibit 4. 1 THE WITNESS: My title is correct, if that's i

2 (Exhibit Russillo 004 is marked.) 2 the question you're asking.

3 Q BY MR. FAUCI: This document says, "Roxane | 3 Q BY MR. FAUCI: And functionally, would you

4 Laboratories, Inc., Budget 1999," and it appears to 4 agree that you were responsible for the marketing ;

5 be an organizational chart. 5 department at Ben Venue and Roxane? i

6 Take a moment to familiarize yourself with 6 A Yes. i

7 it, and let me know verbally when you're ready for 7 Q Below you, it lists "Manager, Multisource, |

8 aquestion. 8 J. Waterer." :

9 A Yes, I'm ready. 9 A Yes.

10 Q Do you see that Mr. Berkle, as head of the 10 Q Who is J. Waterer?

11 business unit Ethical Pharmaceuticals, appears in 11 A Judy Waterer was the manager of marketing.
12 this organizational chart? 12 Q Did she report to you?

13 A Yes, I do. 13 A Yes, she did.

14 Q Do you have any knowledge as to why 14 Q What were her job responsibilities?

15 = Mr. Berkle would be appearing in a Roxane Labs 15 A She was responsible for the Roxane

16 ~—_ organizational chart? 16 multisource product portfolio, marketing of those
17 A Ican only surmise why. 17 products, setting of prices, and coordination with
18 Q What would that be? 18 the salespeople. She was responsible for preparing
19 A That would be -- 19 pipeline models, for forecasting sales.

20 MS. RIVERA: Object to form. Calls for 20 Q Which prices?

21 speculation. 21 A Judy was responsible for all Roxane product
22 Go ahead. 22 pricing, Roxane multisource product pricing.

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14 (Pages 50 to 53)
50 52
1 Q. Average wholesale pricing? 1 A Yes.
2 A She would have set the AWP. Yes. 2 Q What would you interact with him about?
3 Q Wholesale acquisition costs? 3 A Probably along two lines. It would have
4 A Yes. 4 been organizationally how his people were
5 Q And contract pricing? 5 performing and how accurate and timely they were in
6 A Yes, 6 processing our orders.
7 Q What's a contract price? 7 Most likely, that would be the major
8 A A contract price is a specific price to a 8 discussions I would have with him.
9 specific customer. 9 Q Anything else?
10 Q Is the contract price typically lower than 10 A Probably individually, but very
11. the WAC price? 11 sporadically, talk of -- discussions about pricing.
12 A Contract price, to my knowledge, is almost 12 Q Average wholesale prices?
13 always lower than the WAC price. 13 A Possibly.
14 Q How often did you interact with Ms. Waterer? 14 Q Taking a step back, can you just describe to
15 Daily? 15 me in general terms what it is the marketing
16 A Some days -- sometimes daily. Sometimes not |16 department did at Roxane?
17 for days at a time. 17 A You're talking about generic marketing at
18 Q The chart also lists "Marketing Controller, 18 Roxane?
19 ~~ G. Ciarelli." Who is G. Ciarelli? 19 Q Yes, I'm talking about the portion of the
20 A Gregg Ciarelli was within the finance 20 marketing department that you had responsibility
21 department, the controller for the branded business |21 for, which I understand is the multisource part of
22 unit. 22 the business.
51 53
1 Q Was he a Boehringer Ingelheim person? 1 A Yes. And you'd like to know what Judy
2 MS. RIVERA: Object to form. 2  Waterer's responsibilities were?
3 THE WITNESS: Let's see. Let me find his 3 Q What yours and Judy Waterer's
4 name on here. 4 responsibilities were.
5 Q BY MR. FAUCTI: It's two over from you. 5 A Okay. Responsible for merchandising the
6 A Iseeit. Okay. 6 _ portfolio of products that Roxane multisource was
7 Q Under "Executive VP, Shelly Berkle." 7 either selling currently or developing for the
8 A Yeah, yeah. My understanding ishe reported | 8 future.
9 to Shelly, so who -- again, I don't know who wrote 9 Q Let me try and make this more focused for
10 his paycheck. 10 you. Can you describe the marketing department's
11 Q Did he have responsibility for Roxane? 11 involvement with the launch of a new product?
12 MS. RIVERA: Object to form and foundation. 12 A Yes, I can. The marketing department would
13 THE WITNESS: He had within his group, the 13 probably put together a sales plan, a marketing
14 contracting division. And the contracting was a 14 plan, with projected pricing, projected volume,
15 _ shared service. The shared services within his 15 profit and loss.
16 group were responsible for the multisource Roxane 16 Q Projected AWPs?
17 products. 17 A Yes.
18 Q BY MR. FAUCI: What does a marketing 18 Q Would the marketing department actually set
19 controller do? 19 the AWP?
20 A A lot of different stuff. I mean, you'd 20 A Yes.
21 have to ask him what he does specifically. 21 Q Is it fair to say that you and Ms. Waterer
22 Q Did you interact with him? 22 would be responsible for setting the AWP?

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15 (Pages 54 to 57)
54 56
1 A For the most part, I would not be personally 1 retained by Ben Venue.
2 involved. Judy would propose an AWP; and for the | 2 Q Do you know if he represented Roxane?
3. most part, I would have approved it. 3 A Idon't recall specifically whether he
4 Q Was there anyone else that was involved in 4 worked for Roxane as well.
5 decisions to set AWPs for Roxane's multisource 5 Q Call your attention to the first paragraph.
6 products? 6 MS. RIVERA: And let me just object for a
7 A Not normally. 7 second. I'm going to object to the relevance of
8 Q_ What is your understanding of what an 8 this.
9 average wholesale price or AWP is? 9 Bedford and Ben Venue are not defendants in
10 A_ It's not what it says it is. It's not an 10 this case, so investigations into Ben Venue and
11 average wholesale price. 11 Bedford's practices are not relevant to this case.
12 It is a misnomer or an arbitrary term that 12 And this deposition was not noticed for
13 __ is used in the generic business to report yourself 13. Mr. Russillo's employment at Bedford Labs.
14 to the database companies that you are marketing a {14 MR. FAUCTI: I'm going to request that
15 generic product. 15 counsel refrain from making speaking objections. I
16 Q So did Roxane report its AWPs to pricing 16 ~~ don’t think that's a proper objection in this
17 compendia? 17 deposition.
18 A Yes, they did. 18 Object for the record.
19 Q Were you aware that starting in the 19 MS. RIVERA: That's what I'm doing.
20 1998-1999 time frame, there were investigations 20 MR. FAUCI: Okay. But I think "objection"
21 into inflated AWPs? 21 will suffice.
22 A Yes. 22 Q Mr. Coval writes in the first paragraph, "We
55 57
1 MS. RIVERA: Object to form. 1 are writing as counsel on behalf of Bedford
2 THE WITNESS: Yes, I was. 2 Laboratories in response to your letter of July 19,
3 MR. FAUCI: I'm going to show you a document 3 1999, to Thomas Russillo."
4 — the court reporter will mark as Exhibit 5. 4 Do you see that?
5 (Exhibit Russillo 005 is marked.) 5 A Yes, I do.
6 Q BY MR. FAUCI: Please take a moment to 6 Q And it says that, "in which you request
7 ~~ familiarize yourself with it. Continue to 7 certain information and documents regarding the
8 familiarize yourself with it as necessary, but I'm 8 pricing of Bedford's products generally and
9 going to ask if you understand that this is a 9 specifically its pricing for the generic
10 letter from a Paul Coval, counsel for Bedford 10 product" -- I'm going to have trouble pronouncing
11 Laboratories, that's addressed to the Honorable Tom 11 ‘this -- "Leucovorin."
12 Bliley, Chairman, Committee on Commerce, US House |12 Do you see that?
13 of Representatives. 13 A Yes,I do.
14 Do you see that? 14 Q Do you recall receiving a letter from
15 A Yes, I do. 15 Councilman Bliley about Bedford's pricing?
16 Q And do you see that you're copied on this 16 MS. RIVERA: Object to form.
17 ~~ letter? 17 THE WITNESS: I generally recall there was a
18 A Yes, I do. 18 letter. I don't recall the content of the letter.
19 Q Who is Paul Coval? 19 Q BY MR. FAUCI: Did you receive letters from
20 A_ Paul Coval, to the best of my recollection, 20 the chair of the Committee on Commerce frequently?
21 was an attorney based in Columbus, who was an 21 A No.
22 outside -- part of an outside firm that was 22 Q Do you recall that counsel drafted a letter

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25 (Pages 94 to 97)
94 96

1 Q Turn your attention to Step 3, the paragraph 1 = Only AWP is to be listed for multisource, as WAC is

2 starting, "Product manager to coordinate following 2 not for general publication."

3 departments/personnel." 3 Does this refresh your recollection as to :

4 Do you see that? 4 whether or not Roxane published its WAC prices?

5 A No,I don't. 5 A No, it doesn't.

6 Q Do you see Step 3? 6 Q You just don't know one way or the other?

7 A Isee Step 3. Okay, the second? 7 A I don't know whether this procedure was ever

8 Q The second bolded -- 8 implemented or not.

9 A_ Yeah, I have it. 9 Q My question is do you -- does this document ,
10 Q And then for an AWP change, do you see that 10 refresh your recollection as to whether in fact
11 Mr. Feldman, executive director, trade and pharmacy |11 Roxane reported its WAC pricing? .
12 affairs, is to compose a letter to the pricing 12 A_ It doesn't. :
13. compendia? 13 Q In your opinion, would it be appropriate for :
14 A Yes. 14 Roxane to lower its WACs on a product but not |
15 Q Is that consistent with your recollection 15 report the new WAC to the pricing compendia? |
16 that Mr. Feldman would notify the pricing compendia 16 MS. RIVERA: Object to form.
17 when Roxane changed its AWP? 17 THE WITNESS: I don't know whether it's ;
18 A It all depends on the time. This is a 18 appropriate or not. I don't think there was any :
19 procedure -- I don't know if it was ever 19 requirement to report any WAC prices to the pricing :
20 implemented or not. 20 compendia. i
21 In that 2000, 2001 time frame, Feldman was 21 MR. FAUCI: I'm going to show you a document i
22 there, so I guess he could have been doing that. 22 = marked Exhibit 12. i

95 97 Ir

1 Subsequent to that, Judy was in charge of that. 1 (Exhibit Russillo 012 is marked.) i

2 Q Was it your understanding that if Roxane 2 Q BY MR. FAUCI: It's a September 22, 2000, |

3. changed the AWP, that change would be reported to 3 e-mail from Joe Puma. And it's attaching a file :

4 the pricing compendia? 4 called "!Reorg PAC 2.ppt," also a document labeled :

5 A Yes. 5 "091800 minutes final.doc." A

6 Q Ifa WAC changed, do you know if Roxane 6 Take a moment to familiarize yourself with :

7 ~~ would notify the pricing compendia? 7 Exhibit 12 and tell me when you're ready for

8 A I'm not sure whether we were reporting WACs | 8 — questions. :

9  ornot. 9 A Okay. t
10 Q Can you think of a reason why you wouldn't 10 Q Who's Joe Puma? ;
11 be reporting WACs? 11 A I don't know. 3
12 A I don't believe there was any requirement to 12 Q He writes on the first page of this, the 4
13. report WACs. 13 e-mail transmitting the attachment, "On the |
14 Q Skip ahead to Step 5. It's two pages 14 PowerPoint presentation, slide 6, please correct ;
15 turned, where it says, "Create gold sheet for 15 the spelling for Tom Russillo. i
16 product if AWP or NWDA changes." 16 "You may also want to include that in ‘
17 Do you see that? 17 addition to WAC changes (not always increases), Tom ||.
18 A Yes. 18  Russillo in coordination with Judy Waterer (Assoc. \
19 Q And then it says, "Gold sheet standard form 19 Director, Multisource Products) also review and :
20 (Roxane) is to be used to notify internal personnel 20 recommend AWP changes for the line."
21 of price changes, packaging changes, as well as 21 Do you see that?
22 additions and deletions to product line. Note: 22 A Yes.

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26 (Pages 98 to 101)
98 100
1 Q Is it consistent with your recollection that 1 team?
2 youand Mr. Waterer reviewed and recommended AWP | 2 A It's -- it was rolled into the PAC, I
3 changes for the multisource line of products? 3 __ believe, at this point in time.
4 A I don't recall doing that. No. 4 Q And the permanent members: Do you see
5 Q You don't recall doing what? 5 those?
6 A Recommending AWP changes. 6 A Yes,I do.
7 Q Do you recall approving AWP changes? 7 Q "Ciarelli, Diez, Ellexson, Hankins, King,
8 A Ido. 8 Powers, Sykora, Terrillion, Marketing Controller
9 Q Did you ever ask anyone at Boehringer 9 Elizabeth Cochran."
10 =‘ Ingelheim to sign off on an AWP change that you 10 A Yes.
11. were involved with? 11 Q Who are each of those people, to the best of
12 MS. RIVERA: Object to form. 12 your recollection? Which companies did they work
13 THE WITNESS: There would have been -- it 13 for?
14 would have been at my discretion. I would have 14 I can make it easier. Did any of those
15 asked Werner Gerstenberg, if I thought there was a 15 people work for Roxane Laboratories post-June 2000?
16 sensitive AWP issue. 16 A I don't know for sure. John Powers and Bob
17 Q BY MR. FAUCI: Is there anyone else you 17 Sykora were Roxane -- I think were Roxane
18 would have talked to about a sensitive AWP issue? 18 employees.
19 A No. 19 Q Were the rest of those BIPI employees?
20 Q What would make an AWP issue sensitive? 20 A They were on the brand side. I would
21 A Well, at this time -- 21 imagine they were BIPI.
22 MS. RIVERA: Hold on. Object to form. 22 Q The third bullet point down, it says,
99 101
1 THE WITNESS: At this point in time, I was 1 -"G. Ciarelli, H. Diez, and J. King to collaborate
2 very sensitive to the AWP litigation that was 2 to provide leadership to team and make final calls
3 floating around. 3. on difficult decisions."
4 Q BY MR. FAUCTI: So as of the late 1990s, you 4 A Yes.
5 were aware that there was investigations into 5 Q "Ifa decision cannot be made, the issues
6 inflated AWPs? 6 are brought to S. Berkle."
7 A Yes, I was. 7 A Yes.
8 Q Let's turn to the first page of the exhibit, 8 Q Do you see that?
9 of the attachment, where it says, "Impact of June 9 A Yes, /
10 2000, BU Reorganization on PAC Process." 10 Q Would those difficult decisions have to do
11 A Yes. 11 with Roxane multisource products?
12 Q Was there a reorganization of the business 12 A No.
13 unit in or around June 2000? 13 Q_ What about Roxane's branded generic
14 A Yes, there was. 14 products?
15 Q What was the result of that? 15 MS. RIVERA: Object to form, foundation.
16 A The result of that was, as best I recall, 16 THE WITNESS: I believe they could. I don't
17 _ the pricing decision committees, as you've shown me [17 —_ know how they handled those.
18 in the previous things, were implemented on the 18 Q BY MR. FAUCI: Page 6 of the same exhibit
19 brand side, and we were left pretty much on the 19 says "PTC and Multisource." Do you see that?
20 _ side to do our own thing, on the multisource side. 20 A Yes,
21 Q Turn to page 4 of the document, where it 21 Q "Multisource is addressed by the PTC team
22 says "PTC Team Post-June 2000." What is the PTC 22 only when administrative, legal, and government

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38 (Pages 146 to 149)
146 148
1 issues around AWPs. 1 go to a pricing committee?
2 Q BY MR. FAUCTI: Did it give you pause to 2 A_ I was reminding him that I had the authority
3. approve an AWP increase at this time? 3. to make these changes and that they didn't need to
4 MS. RIVERA: Object to form. 4 go through the PAC prices.
5 THE WITNESS: You know, I don't -- J can't 5 Q Who were you reminding?
6 remember what I was thinking back in 1999. AllI 6 A Gregg.
7 did -- all I do remember is that there were issues 7 Q Gregg? The e-mail's to Richard Feldman and
8 around AWP, and it was my job to make certain that | 8 Judy Waterer, and it's copied to Gregg Ciarelli.
9 what I did was both legal and appropriate. 9 A That's right. You've shown me all the
10 Q BY MR. FAUCI: It says below in that e-mail, [10 e-mails. There was a lot of discussion going on at
11 __ the last line, "Gregg is in agreement." Who's 11 this point in time about how prices were being set
12 Gregg? 12 up by the various divisions.
13 A I believe that would be Gregg Ciarelli, 13 I was just reminding people here that
14 because he's copied on this e-mail. 14 ~=maultisource was not part of that PAC, and we had
15 Q Would you have sought out Gregg's approval 15 _ the authority -- I had the authority to agree to
16 or Gregg's agreement before you did this? 16 the price change.
17 A No, I would not. 17 Q So you're saying that Gregg is in agreement
18 Q Why would you have said, "Gregg is in 18 that you had authority to make this price change?
19 agreement"? 19 A That's right.
20 A Because he would be processing the changes {20 Q Why didn't this go to a pricing committee?
21 that were being proposed here. 21 A Because there was not a pricing committee
22 Q Lunderstand that. But why would you be 22 = for multisource products.
147 149
1 concerned that he would agree with the decision to 1 Q There had been an effort or an exploration
2 raise the AWPs? Why would his agreement matter? 2 of whether it made sense to set up a pricing
3 MS. RIVERA: Object to form. 3. committee. We went through those documents.
4 THE WITNESS: It isn't necessarily 4 Do you remember that?
5 agreement. I don't know. I don't remember at the 5 A Yes, I do.
6 time why I said that. 6 Q Do you recall why a pricing committee wasn't
7 Q BY MR. FAUCI: It's a three-line e-mail, and 7 ~~ set up?
8 you're authorizing the increase of AWPs, and you're 8 A I think the nature of the business was so
9 saying Gregg is in agreement; is that correct? 9 different from the branded business that coming up
10 A Yeah. 10 with a common committee was just not possible.
11 MS. RIVERA: Object to form. You're 11 Q Let's look at Exhibit 22. I know we're
12 skipping a whole sentence in the e-mail, Jeff. 12 approaching lunch.
13 MR. FAUCI: [ understand that. 13 (Exhibit Russillo 022 is marked.)
14 Q Let's just read the whole thing. "Go ahead 14 MS. RIVERA: The more we can get through,
15 and implement the $131.08 and $144.18 AWP change as [15 _ the better.
16 well as the new pricing for Alprazolam Intensol. 16 Q BY MR. FAUCI: This is a September 8, 1999,
17 "Price changes for M/S, except in certain 17 ~~ e-mail from Lesli Paoletti to Tom Russillo,
18 cases which will be more clearly defined later, do 18 "Subject: Azathioprine/Alprazolam Pricing."
19 not need to go to a pricing committee. Gregg is in 19 Do you see that?
20 agreement. Tom." 20 A Yes.
21 A Right. 21 Q Ms. Paoletti writes, "Tom, by your
22 Q What does it mean that prices didn't need to 22 signature, please confirm executive pricing

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43 (Pages 166 to 169)

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166 168
1 documentation would consist of. 1 A I don't remember.
2 Q And so as long as she showed you that the 2 Q One way or the other?
3 AWP change was necessary to make Roxane's AWPs as {| 3 A I don't remember.
4 high as its competitors, that would be enough for 4 Q Did you talk to anyone in the legal i
5 you to approve it? 5 department about this? :
6 A In general, that would probably be enough. 6 A_ IJ don't recall the incident. :
7 Q Were you concemed about the government's 7 Q Well, you said you were aware that AWP
8 investigations into AWP inflations? 8  inflations were being investigated by the ;
9 A Absolutely. 9 government; is that correct? :
10 Q Let's look at the top e-mail from 10 A Yes, I did. :
11 Ms. Waterer. She says, "Bob, got the information 11 Q And the incident we're talking about is a
12 yet? Discussed it with Tom; and depending on the 12 decision to raise the AWPs on Roxane's furosemide |}:
13 strength of the customer information you can pull 13 products; correct? ;
14 together, he'll support it. No guarantees of 14 A Yes.
15 getting it through." 15 Q Do you think it's likely that you would have
16 Do you see that? 16 discussed this with people in the legal department? ;
17 A Yes, Ido. 17 MS. RIVERA: Object to form. |
18 Q Ifyou were -- if it was your decision as to 18 THE WITNESS: I can't tell you that. I i
19 whether or not to approve it, why wouldn't there be 19 ~~ don't know. :
20 any guarantee of getting it through? 20 Q BY MR. FAUCTI: Let's look at Exhibit 25. |
21 A I don't know what she was referring to when [21 (Exhibit Russillo 025 is marked.) 1
22 she said that. She could have been referring no 22 Q BY MR. FAUCTI: This is a series of e-mails i
167 169
1 guarantee that I would approve it, no guarantee 1 dated July 7, 2000. Subject is "Cardinal Counter :
2 that documentation would be considered adequate by {| 2 and Furosemide." :
3 me. There's a whole different bunch of things. 3 I'm going to direct your attention to the
4 Q Could she have meant that there was no 4 bottom e-mail from the -- or the middle e-mail from ||}
5 guarantee that you'd be able to convince higher-ups 5 Mr. Sykora to Judy Waterer. And it's copied to :
6 to approve this? "This" being the AWP increase. 6 _ several people, including yourself. :
7 MS. RIVERA: Object to form. 7 Do you see that? :
8 THE WITNESS: She may not have been sure who 8 A Yes.
9 I would talk to, if anyone, about it. 9 Q Actually, let's look at the e-mail below,
10 Q BY MR. FAUCI: But it's your testimony that 10 ~— from Ms. Waterer, sent at 11:10 a.m, paragraph
11 you would not have needed to talk to anybody to 11 no. 2. Ms. Waterer writes, "I agree" --
12 improve this -- approve this? 12 MS. RIVERA: Sorry, Jeff. I think he needs
13 A In this particular case, depending on what 13  aminute to look over the whole thing.
14 was going on, I probably would not have. I think 14 MR. FAUCI: Sure. Why don't you just tell
15 it was my testimony before that if I thought it was 15 me when you're ready for questions about :
16 significant, I might have reviewed it with Werner 16 ~~ Exhibit 25. ;
17. Gerstenberg. 17 MS. RIVERA: Thank you. i
18 Q Do you have any recollection as to whether 18 THE WITNESS: Okay. :
19 ornot you reviewed an AWP increase in or around 19 Q BY MR. FAUCTI: I'm looking at the e-mail
20 July 2000 with Werner Gerstenberg? 20 from Ms. Waterer as it spills over to the second
21 A No, I don't. I don't remember. 21 page, paragraph no. 2.
22 Q You don't recall? 22 Ms. Waterer writes, "I agree that time is

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44 (Pages 170 to 173)
170 172
1 ripe on furosemide.” Do you see that? 1 brother wants to punish, they will, so why not make
2 A Yes, I do. 2 some money meanwhile."
3 Q A few lines down, she says, "Tom is aware of 3 Do you see that?
4 the AWP situation and will support the increase 4 A Yes, I do.
5 provided we have solid supporting information. The | 5 Q What do you understand Mr. Sykora to be
6 change will be submitted as soon as we receive the 6 referring to when he writes "big brother"?
7 necessary information from you." 7 MS. RIVERA: Object to form and foundation.
8 What do you understand her to mean when you 8 THE WITNESS: I don't know for sure. I can
9 say -- when she says that, "Tom will support the 9 only speculate who he meant.
10 increase"? 10 Q BY MR. FAUCI: Have you ever heard of the
11 A I will approve it. 11 government referred to as big brother?
12 Q So just like champion equaled approved, 12 A Yes.
13 support equals approved as well? 13 Q And you know the government was concerned
14 A Exactly. She's reiterating the same thing 14 ~— about inflated AWPs?
15 she said in the previous e-mail two days ago. 15 A Yes.
16 Q And so by support the increase, she means 16 Q Asearly as 1999?
17 that you'll approve it? 17 A Yes, Ido.
18 A Yes. 18 Q Can you think of any reason why Boehringer
19 Q Uh-huh. Let's look at the e-mail from Bob 19 Ingelheim would be upset with Roxane for raising
20  Sykora on the next page -- the first page. I'm 20 its AWPs on furosemide?
21 looking at paragraph 2, third line down. 21 MS. RIVERA: Object to form.
22 Mr. Sykora writes, "I realize there is 22 THE WITNESS: What do you mean by Boehringer :
171 173
1 political pressure on AWP currently, but it 1 Ingelheim?
2 shouldn't run our business." Do you see that? 2 Q BY MR. FAUCI: BIC and/or BIPI.
3 A Yes, I do. 3 MS. RIVERA: Object to form and foundation.
4 Q Is the political pressure on AWP the fact 4 THE WITNESS: Yeah. You mean that the
5 that government was investigating AWP inflations? 5 company would be upset?
6 MS. RIVERA: Object to form. Calls for 6 Q BY MR. FAUCI: Yeah. The question is can
7 speculation. 7 ~~ you think of any reason why BIC and/or BIPI would
8 THE WITNESS: Would you repeat that, please? 8 punish Roxane for raising its AWPs?
9 MR. FAUCI: Let me rephrase that. 9 MS. RIVERA: Object to form and foundation.
10 Q Do you see that you're copied on 10 THE WITNESS: I don't know whether in this
11. Mr. Sykora's e-mail? 11 case the AWP was actually raised or not. All
12 A Yes, Ido. 12 know is that I would have reviewed it. If I
13 Q As you read what he writes, do you 13 thought it was justified, I would have approved it.
14 — understand -- what do you understand him to mean by [14 And I believe that the people you're
15 political pressure on AWP? 15 referring to, BIC or BIPI or whomever, would not
16 MS. RIVERA: Object to form. 16 have had any objection. I wouldn't have signed off
17 THE WITNESS: I think he is referring to the 17 on it if ] thought there was going to be a problem.
18 fact that he is aware that there are lawsuits 18 Q BY MR. FAUCI: You wouldn't have signed off
19 pending on AWPs and there are perceptions that AWPs ]19 on it without their approving?
20 have been used incorrectly in the industry. 20 A_ I wouldn't have signed off on it if I
21 Q BY MR. FAUCI: He goes on to write, "Logic 21 thought it was going to be a problem.
22 dictates that no matter what the AWP is, if big 22 If I was concerned about it, I would have

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45 (Pages 174 to 177)
174 176
1 called Werner Gerstenberg and told him what I 1 A There were thousands of Roxane employees --
2 thought was going on and what I thought should be | 2 oh, in Connecticut. Sorry.
3 done. And then he would have either agreed or 3 Q Based in Connecticut.
4 disagreed. 4 A Roxane actual employees. Let me think about
5 Q So do you think you consulted with Werner 5 that. There actually may have been a couple.
6 Gerstenberg about the decision as to whether or not 6 We had a number of situations where people
7 to raise AWPs for Roxane? 7 worked for a subsidiary but were officed other
8 A Don't recall. 8 places, so there may have been. J can't think
9 Q For furosemide, I apologize. 9 right now of any.
10 A Idon't recall. 10 Q Can't think of any off the top of your head?
11 Q In the top e-mail from Ms. Waterer, the 11 A Not specifically, no.
12 second paragraph down, she writes, "You've 12 Q I'm going to show you Exhibit 26.
13 indicated that AWP on furosemide is critical now 13 (Exhibit Russillo 026 is marked.)
14 and that we'd have real business opportunities if 14 Q BY MR. FAUCI: Take a moment to familiarize
15 we could change it. As you've been informed, Tom 15 yourself with this e-mail, but my questions will
16 __ is prepared to take furosemide up the line." 16 just be focusing on the top couple lines.
17 Do you see that? 17 A Okay.
18 A Yes. 18 Q The e-mail I'm going to focus your attention
19 Q Who would you be taking furosemide up the 19 onis from Tom Russillo, dated July 7, to Bob
20 line to? 20 Sykora, Judy Waterer, Richard Feldman.
21 A I believe she's referring to that if I 21 Do you see that in this e-mail you were
22 needed to, I would take it up the line. 22 responding to the e-mail we just discussed in
175 177
1 Q To who? 1 Exhibit 25, where Mr. Sykora was discussing the AWP
2 A Werner Gerstenberg. 2 increase for furosemide?
3 Q Anyone else? 3 A It would appear that's correct. Yes.
4 A No. 4 Q Can you read your response?
5 Q Where is Werner Gerstenberg based? 5 A "Bob, I assure you it's real. To get the A
6 A Connecticut. 6 approval we need from Connecticut, though, we need
7 Q What was his job function? 7 some hard info. Don't shoot the messenger. Judy
8 A_ He was the CEO of -- now, let's take it in 8 is only doing what I asked her to do. Rich can
9 respect. In this particular case, he would have 9 assure you of the mood in BI."
10 been acting as the president of Roxane. 10 Q Does "Connecticut" mean Boehringer
11 Q Was he also the president of other 11 Ingelheim?
12 Boehringer Ingelheim companies? 12 MS. RIVERA: Object to form.
13 A Yes, he was. 13 THE WITNESS: It could mean Boehringer
14 Q Which companies, to your knowledge? 14 Ingelheim. I suspect it does here.
15 A_ I believe he was the president of BIC. 15 Q BY MR. FAUCI: What approval would you need
Lé Q Which was the parent company based in 16 from Boehringer Ingelheim?
17 Connecticut? 17 MS. RIVERA: Object to form.
18 A Yes. 18 THE WITNESS: I believe Judy was under the
19 Q Can you think of any other Roxane employees |19 — impression that I needed approval, and I may have
20 that were based in Connecticut? 20 told her that so that she wouldn't just be
21 A Can I think of any? 21 bombarding me with requests.
22 Q Yeah. 22 Q BY MR. FAUCTI: Just to be clear, who wrote

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46 (Pages 178 to 181)
178 180:
1 this e-mail I asked you to read? 1 furosemide as sensitive?
2 A I wrote it. 2 MS. RIVERA: Object to form.
3 Q Did you need approval from Boehringer 3 THE WITNESS: I regarded any decision to
4 Ingelheim to make a decision to raise the AWPs on 4 raise AWPs as needing to be justified.
5 furosemide? 5 Q BY MR. FAUCI: You write, "Rich can assure
6 MS. RIVERA: Object to form. 6 you of the mood in BI." Do you see that?
7 THE WITNESS: It would have -- as I've told 7 A Yes.
8 you before, it would have depended on the 8 Q Is "Rich" Richard Feldman?
9 situation. 9 A I believe that's who I'm referring to. Yes.
10 I would have evaluated all the data and made 10 Q What do you mean, the mood in BI?
11 the decision. If I needed to go to Connecticut, in 11 A The mood at Boehringer Ingelheim was the
12 this case to Werner Gerstenberg, I would. 12 same as mine. It was very sensitive to AWP
13 Q BY MR. FAUCI: Well, we're talking about 13 changes.
14 this situation, which is a proposed increase on 14 Q Because of its awareness of the lawsuits
15 AWPs for furosemide in July 2000. 15 that had been filed?
16 A Uh-huh. 16 A Yes.
17 Q And you write, "To get the approval we need = |17 Q You can put that aside. I'm going to show
128 from Connecticut, though, we need some hard info." {18 you an exhibit marked Exhibit 27.
19 Did you need approval from Boehringer 19 (Exhibit Russillo 027 is marked.)
20 Ingelheim? 20 Q BY MR. FAUCI: This is a somewhat lengthy
21 MS. RIVERA: Object to form. 21 document. Take a moment to review it, and just
22 THE WITNESS: I did not need approval from |22 indicate to me when you're ready for a question.
179 181
1 Boehringer Ingelheim in Connecticut, unless I felt 1 A You want me to read all of this? Are we
2 there were circumstances that I needed to review 2 planning to go through the whole thing, or --
3 with Werner Gerstenberg. 3 Q Just be familiar with it. I'll direct you
4 Q BY MR. FAUCI: And do you recall if you felt 4 where I'm going to ask my questions.
5 asif there were circumstances you needed to review 5 A Allright. Then I'm going to have to read
6 that related to the AWP increase for furosemide? 6 allofit. Let's give ita try. Is this for me?
7 A I don't recall at this point in time, 7 MS. RIVERA: Yeah.
8 because I didn't have the data yet. 8 Q BY MR. FAUCI: This document appears to be
9 Q You just have no recollection one way or the 9 ane-mail sent from Robert Sykora to Judy Waterer,
10 other? 10 July 25, 2000. Several people are copied,
11 A No. I'd have to see the next series of 11 including yourself.
12 e-mails and information that would have passed. 12 Subject is "Furosemide Tablet AWP
13 Q So it's possible that depending on what the 13 Adjustment." Ms. Waterer writes, "Per your
14 _ sales justification looked like, you might have 14 request, attached is a sales justification for an
15 felt the need to go to Boehringer Ingelheim; is 15 upward adjustment in the AWPs of furosemide
16 that correct? 16 tablets."
17 A Itis possible. 17 Do you see that?
18 MS. RIVERA: Object to form. 18 A Yes, I do.
19 Q BY MR. FAUCI: And you don't know one way or |19 MS. RIVERA: Jeff, just to clarify, it's
20 another whether you did? 20 from Bob Sykora to Judy Waterer.
21 A No, I don't. 21 MR. FAUCI: So Mr. Sykora writes that.
22 Q Did yo 22 MS. RIVERA: Yes.

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49 (Pages 190 to 193)
190 192
1 A Ido. 1 this is a decision that you would have taken to
2 Q Did you have any concern with raising the 2 Werner Gerstenberg?
3. AWPs for this product to a level more than 14 times 3 A Based on the data that I've seen here and
4 higher than the average contract price? 4 the quick review, I would say I probably did not.
5 MS. RIVERA: Object to form. 5 Q What was the type of decision you would take
6 THE WITNESS: No, because it was the same 6 to him?
7  AWP as Mylan. 7 A If we were raising an AWP without adequate
8 Q BY MR. FAUCT: So as long as Mylan's AWP was | 8 justification, meaning I didn't see a competitor's
9 high, that high, it was okay? 9 analysis that showed we were just blending in with
10 MS. RIVERA: Object to form. 10 the rest.
11 THE WITNESS: "High" is a word -- I don't 11 Q So with knowledge the AWP investigations
12 use the word “high.” 12 were going on, and with knowledge that this AWP
13 Q BY MR. FAUCI: What if Mylan's AWP was $300? [13 _ increase raised the AWPs to 14 times the average
14 MS. RIVERA: Jeff, you've got to let him 14 contract price, that would not have been reason for
15 finish his answer. 15 you to go to Mr. Gerstenberg and say, "Is this
16 Q BY MR. FAUCI: | apologize. Finish it. 16 okay?"
17 A Okay. It doesn't matter what the number is. 17 A I can't answer your question exactly,
18 We were trying to be competitive. If Mylan's AWP 18 because this -- as you've seen from the e-mail
19 is $300, we probably would have raised it to $300 19 trails on this and others, there were a number of
20 to be competitive. 20 these going on.
21 Q Do you think it mattered to Medicaid and 21 Once I had established Werner Gerstenberg's
22 Medicare agencies what the AWP was? 22 position on this, I would have implemented it.
191 193
1 MS. RIVERA: Object to form, foundation. 1 So -- and I don't remember eight years ago how
2 Calls for speculation. 2 concerned he was.
3 Q BY MR. FAUCI: You're aware that Medicaid | 3 I might have brought it to him. I don't
4 and Medicare relied on AWPs in setting their 4 think I did, because we've had others before that.
5 reimbursement. You've already testified to that; 5 I knew where he stood.
6 correct? 6 Q Would you have done this without feeling
7 A. I testified that they relied on a discount 7 comfortable that Mr. Gerstenberg was okay with it?
8 from AWP for setting their reimbursement. 8 A fean't tell you at the time. I don't know
9 Q Do you think it mattered to Medicare and 9 whether I went to him or not.
10 Medicaid what the AWPs were? 10 Q You said you knew where he stood. What do
11 MS. RIVERA: Object to form and foundation. /11 you mean by that?
12 THE WITNESS: I suppose it mattered. 12 A I knew that his position was if we were
13 Q BY MR. FAUCTI: But it didn't matter to 13 meeting competitors, to stay competitive and that's
14 Roxane? 14 why we were raising the AWP, we would not be
15 A_ Well, what mattered most -- 15 perceived as taking advantage of the AWP.
16 MS. RIVERA: Object to form. 16 Q Where did you get that understanding of
17 THE WITNESS: -- was their discount, not the |17 Mr. Gerstenberg's position from?
18 AWP., 18 A Over many conversations with him.
19 Q BY MR. FAUCI: Now that we've looked a 19 Q Did you have those -- was anybody else
20 little bit into the actual decision to raise AWPs 20 involved in those conversations?
21 and your approval of that decision, does any of 21 A There may have been. I don't -- I don't
22 this refresh your recollection as to whether or not 22 recall the specific conversations.

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51 (Pages 198 to 201)
198 200
1 to Ven-a-Care asking questions as separate from 1 A I was with Boehringer Ingelheim from
2 their role as co-counsel on the DOJ's case. 2 November 1997 until December of 2004.
3 Go ahead. 3 Q And the November '97 date is the date of the
4 MR. FAUCI: Clarification. The objection is 4 acquisition of Ben Venue by a Boehringer company?
5 to Ven-a-Care asking questions in anything other 5 A That's correct.
6 than their capacity as co-counsel in the DOJ case? | 6 Q How many years had you been with Ben Venue
7 MS. RIVERA: In their capacity as -- like I 7 prior to that date?
8 _ said, it's our position that the DOJ is the only 8 A From May of 1990 until November '97.
9 defendant in this case -- 9 Q What companies had you worked for in the
iO MR. ANDERSON: Plaintiff. 10 = drug industry prior to 1990?
a 1 MS. RIVERA: Sorry. The only plaintiff in 11 A Prior to that, I worked for Wyeth-Ayerst and
12 the case that has the right to ask questions. And 12 Baxter International.
3 so to the extent you are allowing Mr. Anderson to [13 Q In those roles, did you have
14 ask questions on behalf of the DOJ, that's okay. 14 responsibilities for the sales or marketing of
1S EXAMINATION 15 generic drugs?
46 BY MR. ANDERSON: 16 A At Baxter, I did.
7 Q Allright. Good afternoon, Mr. Russillo. 17 Q What types of drugs, generally?
i. 8 A Hi. 18 A General generics. We were supplying
9 Q I'm going to have some followup questions |19 _ hospitals in the Middle East, Africa, and parts of
20 for you. I hope that it won't take too long, and 20 Asia.
21 we'll try to get out of here on time. 21 Q And it was a full product line, or was it a
22 I'm going to move from topic to topic, so 22 typical type of product?
199 201
1 bear with me. I've got some big-picture questions 1 A It was a service line. We were not the
2 initially. 2 manufacturers. It was a business we had. Hospital
3 You've been in the pharmaceutical industry 3. supply, generic drug supply.
4 for many years; correct? 4 Q Okay. And you were overseas?
5 A Yes, I have. 5 A No. I was in Deerfield, IMinois.
6 Q To this day, you're in the pharmaceutical 6 Q But you were responsible for some of these
7 ~~ industry as a key executive at Watson; correct? 7 overseas operations?
8 A Yes. 8 A No. I was based in Deerfield, I was not
9 Q How many years total have you been in the 9 responsible for the overseas operations.
10 drug industry? 10 Q Just the marketing? Okay.
a2 A 32. 11 A_ I was responsible for a service division
12 Q 32. And we've spent some time today talking |12 whose job it was to broker products for other
13 about your roles at Ben Venue, which was a division |13 companies, non-Baxter companies.
14 of Boehringer; correct? 14 Q Okay. Now, if I'm understanding your
15 MS. RIVERA: Object to form. 15 testimony correctly this morning, you've never been
16 THE WITNESS: It was an operating division, 16 employed by Roxane; correct?
17 subsidiary, of BIC. Yeah, yeah. 17 A No. I've never been employed by Roxane.
18 Q BY MR. ANDERSON: Boehringer Ingelheim [18 Q But you did have managerial control over
19 Corporation is what you mean by BIC? 19  Roxane's marketing; correct?
20 A Yes. 20 A Roxane's multisource marketing.
21 Q Okay. How many years were you with 21 Q Multisource marketing. In the course of
22 Boehringer Ingelheim companies? 22 your employment with which company were you

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202 204
1 responsible for Roxane's marketing? 1 THE WITNESS: My boss was, and always was,
2 MS. RIVERA: Object to form. 2 Wemer Gerstenberg. So yes, I was instructed to
3 THE WITNESS: I'm not sure what you mean by 3 oversee that business under Werner Gerstenberg.
4 — which company. 4 Q BY MR. ANDERSON: And you reported to Werner |[:
5 Q BY MR. ANDERSON: Which company did you feel | 5  Gerstenberg in his role as president and CEO of :
6 like you were employed by when you were acting as 6 BIC, Boehringer Ingelheim Corporation; correct?
7 the chief operating officer of Roxane's marketing? 7 A Yes. :
8 A Iwas never chief operating officer. I 8 Q Likewise, Mr. Berkle, as president of BIPI, :
9 was -- in the Boehringer world, I was head of the 9 Boehringer Ingelheim Pharmaceuticals, Incorporated, :
10 = mutltisource business, and I was president of Ben 10 was reporting to Mr. Gerstenberg, president of BIC, ;
11 Venue Laboratories. 11 with respect to the Roxane branded drugs; correct? :
12 Q Okay. I'll use that terminology then. 12 A I'm not sure. ;
13 As president of Ben Venue Laboratories and 13 MS. RIVERA: Object to form. :
14 as the head of multisource marketing within the 14 THE WITNESS: I'm not sure whether Shelly
15 Boehringer companies, which company did you 15 was president of BIPI or not.
16 —_understand you were employed by? 16 Q BY MR. ANDERSON: Okay.
17 A Ben Venue. 17 A He was head of the business unit Ethical
18 Q Okay. Why were you, as an employee of Ben 18 Pharmaceuticals. And in that capacity, he reported
19 Venue, responsible for Roxane marketing? 19 to Mr. Gerstenberg.
20 A The decision to give me the responsibility 20 Q And likewise, that reporting capacity
21 for Roxane marketing and sales was based on the 21 encompassed Mr. Berkle's oversight of Roxane's :
22 fact that Ben Venue had a very successful generic 22 branded products; correct? i
4
203 205 |
1 __ business, Bedford Labs. And Roxane had a very 1 MS. RIVERA: Object to form and foundation.
2 questionable future in the business. And so they 2 THE WITNESS: Yes, I believe so. i
3 decided to give me that business to try to build it 3 Q BY MR. ANDERSON: Would it be fair to say |
4 sup. 4 that the Roxane multisource and branded products
5 Q And the predecessor executive in charge of 5 were managed within the Boehringer Ingelheim
6 Roxane's marketing was Mr. Tupa; is that correct? 6 corporate framework after roughly 1999? I
7 A That's correct. 7 MS. RIVERA: Object to form. 3
8 Q And you were brought in to lend your 8 THE WITNESS: Try -- I'm not sure what you ‘
9 expertise in the generic field to Roxane's 9 mean by the question. Would you please try to ;
10 ~~ marketing? 10 rephrase it or repeat it? ‘
11 A Yeah. I mean, that's not exactly what was 11 Q BY MR. ANDERSON: Would it be fair to say :
12 going on here. You've got -- I think we've 12 that Boehringer Ingelheim was controlling the :
13 explained to you that the businesses were split. 13 marketing of Roxane multisource products and Roxane
14 The Roxane branded generics were transferred 14 branded products after roughly 1999?
15 to the Roxane branded division, and the multisource |15 MS. RIVERA: Object to form. :
16 business was transferred to Bedford, Ben Venue, Tom [16 THE WITNESS: I can't define it the way :
17 ~~ Russillo. 17 you're describing it. F
18 Q Did -- when that transfer occurred, did you 18 Q BY MR. ANDERSON: How would you define it? ,
19 understand that you were directed to oversee the 19 A_ That Roxane Labs had two divisions within
20 Roxane multisource business by Boehringer 20 Roxane: One that handled the brand piece; one that
21 executives? 21 handled the multisource piece. And the person who
22 MS. RIVERA: Object to form. 22 oversaw them on the multisource side was me, and

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69 (Pages 270 to 273)
270 272
1 companies were separated? 1 actually deposited into BIPI accounts?
2 A I saw Roxane Labs as a separate operating 2 MS. RIVERA: Object to form and foundation.
3 subsidiary. I saw Ben Venue as a separate 3 Assumes facts not in evidence,
4 operating subsidiary. I saw BIPI as a separate 4 THE WITNESS: The service center
5 operating subsidiary. 5 back-charged Roxane for everything they did.
6 Q What efforts were you aware of to keep the 6 Q BY MR. ANDERSON: What do you mean by
7 companies operating separately? 7 back-charged?
8 MS. RIVERA: Object to form. 8 A They allocated their costs. Let's say they
9 THE WITNESS: I don't know what you mean by {| 9 were $100. If 20 percent of their effort was
10 what efforts, but they were operating separately. 10 = dedicated to Roxane, they charged Roxane's P&L
11 Q BY MR. ANDERSON: Do you agree thatthe [11 20 percent. If 5 percent of it was dedicated to
12 companies were sharing employees? 12 CHC, which was the consumer health division, they
13 MS. RIVERA: Object to form. 13 charged them. Vet Medica, which was the veterinary
14 THE WITNESS: There were some shared 14 division, they charged them.
15 services going on with the Roxane piece. There 15 So any work that was done by legal, by
16 were some shared services going on with the BIPI 16 contract services, by HR, there was an allocation
17 piece. Yeah. There were some shared services. 17 that went out to the subsidiaries. So they paid
18 Yes. 18 for their services,
19 Q BY MR. ANDERSON: Can you think of any 19 Q lappreciate that, sir. I was asking a
20 efforts that were undertaken to keep Roxane 20 slightly different question, which is, did you have
21 separate from Boehringer Ingelheim Pharmaceuticals, {21 an understanding that Roxane billings ultimately
22 Incorporated? 22 were deposited in accounts managed by BIPI?
271 273
1 MS. RIVERA: Object to form. 1 MS. RIVERA: Object to form, foundation.
2 THE WITNESS: I'm really not sure what 2 Assumes facts not in evidence.
3 you're asking me. They were operating as separate 3 THE WITNESS: If that was the case, it was
4 — subsidiaries. 4 because contract services, a shared service, was
5 Q BY MR. ANDERSON: In what way? 5 acting on our behalf and collecting our billings.
6 A_ They had their own P&L. 6 Q BY MR. ANDERSON: In that context, you're
7 Q When you say P&L, you're talking about 7 talking about contract services managed by BIPI,
8 profit and loss? 8 controlling the billings of Roxane; correct?
9 A Yes. 9 A Billings for Roxane —
10 Q So when it came to accounting for the sales 10 MS. RIVERA: Object to form.
11 of each organization, the money was kept separate? 11 THE WITNESS: -- billings for BIPI,
12 A I don't know where the money ended up, but’ {12 __ billings for consumer health, billings for any of
13 __ in individual -- obviously, it was consolidated as 13 the subsidiaries for whom they were providing the
14 acorporation. But individual roll-ups started 14 _ service.
15 with the subsidiary level, and the subsidiaries 15 Q BY MR. ANDERSON: The subsidiaries that
16 paid for any shared services they received from the {16 you're referring to are subsidiaries of which
17 parent corporation. 17 company?
18 Q Do you recall that BIPI had a billing and 18 A OfBIC.
19 customer service center that serviced Roxane? 19 Q So really the subsidiaries are all
20 A Yes, they did. 20 technically sister companies of BIPI?
21 Q And are you aware that Roxane revenues 21 A Yes.
22 generated on the sale of Roxane labeled drugs were 22 Q But BIPI's the entity that had all of the i

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1 shared services, like billings and legal and HR; 1 A No.
2 correct? 2 Q. Were the boards different?
3 A_ That's why they charged us for it. 3 A Yes.
4 Q Is there any relationship between BIPI and 4 Q And did you have different board meetings?
5 Roxane, for instance, as parent and subsidiary? 5 A There were different board meetings.
6 MS. RIVERA: Object to form. 6 Q When were they held, typically?
7 THE WITNESS: As parent and subsidiary? No. | 7 A I was not involved with the Boehringer
8 Q BY MR. ANDERSON: Okay. Did BIPI own 8 Ingelheim Corporation board meetings except as an
9 Roxane? 9 invitee, as you saw in some of these documents from
10 A No. 10 the minutes.
11 Q So when you're talking about charging 11 Q When were the Roxane meetings usually held?
122 subsidiaries, you're really talking about BIPI 12 A Usually quarterly, sometimes more often.
13 charging technically sister corporations? 13 They were not board meetings per se, as I testified
14 A Absolutely. 14 earlier. They were operating committee meetings.
15 Q Okay. 15 Q What's the difference?
16 A_ Because each subsidiary had its own P&L 16 A_ There wasn't really any difference.
17 responsibility financially. And so since they were |17 Q Well, was it a meeting with the board of
18 providing services, BIPI didn't want to pay for it. {18 directors or not?
19 They charged us. It was budgeted and paid. 19 A_ The board of directors participants were in
20 Q Did you ultimately report on the Roxane P&L (20 the meeting.
21 toa board? 21 Q Who were the board of directors
22 A Yes. 22 participants?
275 277
1 Q. Which board? 1 A Depending on the time, it would have been --
2 A_ The Roxane board and the Boehringer 2 MS. RIVERA: I think he listed them before.
3 Ingelheim Corporation board. 3 THE WITNESS: Yeah. But depending on the
4 Q Did you report to those boards separately? 4 — time, it would have been Werner Gerstenberg. It
5 MS. RIVERA: Object to form. 5 would have been either Herman Tesner or Holger
6 THE WITNESS: I'm not sure what youmean. I {| 6  Huels. It would have been Shelly. It would have
7 mean, as Roxane was an operating subsidiary, we 7 been myself.
8 reported ourselves, our financials, to the board. 8 And then we brought in other people, just
9 And that board -- that subsidiary then was rolled 9 like the board for Boehringer brought in invitees
10 _up into the Boehringer Ingelheim subsidiary. 10 to explain what was going on.
11 Q BY MR. ANDERSON: Yes, sir. I'm askinga {11 Q BY MR. ANDERSON: Were there common
12 question about the actual logistics of reporting to 12 directors sitting on the board of BIC and Roxane?
13 the board. 13 A Yes.
14 When you were reporting on Roxane's profit 14 Q How many were common to both boards?
15 and loss to a board, were you meeting with the 15 MS. RIVERA: Object to form and foundation.
16  ~Roxane board? 16 THE WITNESS: The only one I can say for
17 A Yes. 17 sure would be Werner Gerstenberg.
18 Q And at the exact same time, were you also 18 But I don't -- Holger Huels and Herman
19 meeting with the Boehringer Ingelheim Corporation |19  Tesner, I'm not sure whether they were board
20 board, because it was the same people -- 20 members or not, but I believe they were. But
21 A No. 21 somebody else will have to fill that in for you. I
22 don't know.

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72 (Pages 282 to 285)
282 284
1 as a shared service attorney. 1 THE WITNESS: No. I wouldn't say that. The
2 Q Do you have any knowledge of any Medicaid 2 fact that the federal government got a discount
3 rules, regulations, laws, or other legal 3 from that was something we were well aware of and
4 requirements that were considered by the pricing 4  weknew they were well aware of. So we didn't --
5 committee in approving AWPs or WAC prices? 5 MR. ANDERSON: Yeah.
6 MS. RIVERA: Object to form. 6 THE WITNESS: -- worry about it.
7 THE WITNESS: Personally? 7 Q BY MR. ANDERSON: What discount are you
8 Q BY MR. ANDERSON: Yes, sir. 8 talking about?
9 A_ That would have been the responsibility of 9 A In any pricing that they were paying.
10 John Powers and the contracting people to consider {10 Q You're talking about the Medicaid rebate?
11 on anything that needed to be done. 11 A No. I'm not talking about Medicaid rebate.
12 Q So the answer to my question is you don't 12 ‘I'm talking about any pricing, anybody that was
13 personally have any awareness that such 13 _ buying for the government.
14 considerations were taken into account? 14 Q Oh. You're talking about like the federal
15 A No. That is not the answer to your 15 supply schedule?
16 question. I do not -- did not personally do it 16 A Sure.
17 myself. I believe that John Powers and the other 17 Q Okay. Well, let's set the federal supply
18 folks who were responsible for Medicaid rebates 18 schedule aside.
19 would have taken care of that. 19 I'm talking, sir, about the AWPs and WACs
20 Q Well, I'm not asking about rebates, sir. 20 that were being set by Roxane and then published to
21 You know that Medicaid rebates aren't paidon WAC |21 Medicaid programs, particularly the AWPs.
22 or AWP; right? 22 Are you aware of anybody on the pricing
283 285
1 A Right, yes. I do know that. 1 committee, or part of the pricing approval process,
2 Q I'm asking about WAC and AWP. 2 considering any Medicaid laws, any Medicare or
3 A Yeah. 3 Medicaid fraudulent abuse laws, any anti-trust -- I
4 Q Do you know of any persons on the pricing 4 mean, pardon me, anti-kickback laws, et cetera?
5 committee, or part of this pricing approval 5 MS. RIVERA: Object to form.
6 circulation process, considering anti-kickback 6 THE WITNESS: Yes. We were all aware of
7 laws, Medicare and Medicaid laws, Medicare or 7 ~~ them. We were trained in anti-kickback laws. We
8 Medicaid fraudulent use laws, or anything similar 8 knew what we could and couldn't do with rebates.
9 to that? ‘9 Yes. So everybody took that into account.
10 MS. RIVERA: Object to form. 10 Q BY MR. ANDERSON: What's your understanding
11 THE WITNESS: I was not aware of any laws 11 of how the anti-kickback laws impact the setting of
12 that we would have been in danger of violating. 12. AWPs?
13 We've talked about AWP. We were -- we believed we {13 A Nosetting. It had nothing to do with the
14 were following all the requirements. 14 setting of AWPs.
15 Q BY MR. ANDERSON: Which were what? 15 Q Is that your personal understanding, or is
16 A For AWP. 16 that what you understood through the training that
17 Q I know. What was your understanding of 17 you received?
18 those requirements? 18 A You're trying to put words in my mouth.
19 A That we were free to set AWP as we saw fit. 19 AWP was a number. It had nothing to do
20 Q So it was pretty much a decision that the 20 per se with anti-kickback or anything else. It was
21 drug company got to make in a vacuum? 21  anumber that we established. How it was used is
22 MS. RIVERA: Object to form. 22 another issue.

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1 Q Would you say you were the individual who 1 sure what you mean, they would negotiate. I forgot
2 ultimately managed the pricing approval process or 2 what you --
3 __ the pricing committee that approved the Roxane AWPs | 3 Q BY MR. ANDERSON: Is it your understanding,
4 and WACs? 4 _ sir, that when Roxane would offer pricing to
5 A Ultimately, with the exception of that 5 customers such as chain drug stores, it would offer
6 little period of time that there was some question, 6 that pricing as a percentage off of AWP?
7 yes. I would say that. 7 MS. RIVERA: Object to form.
8 Q That little period of time being what, sir? 8 THE WITNESS: In some cases, yes.
9 A 1998 through early 1999, where people 9 Certainly, in cases where the pharmacy benefit
10 were -- we were trying to organize the way we 10 manager -- Medco Merck, we mentioned earlier. They
11 thought we were going to be divided up. 11 were used to getting the standard discount of 40,
12 Q Okay. Looking at Exhibit 11, which you just 12 50, 60 percent off of AWP.
13 had in front of you, I'm focusing your attention, 13 Q BY MR. ANDERSON: I understand that. Let's
14 _ sir, on the last -- second to last page of 14 _ set those managed care entities, like the pharmacy
15 Exhibit 11. There's a reference there to the NWDA 15 benefit managers like Medco, aside. Okay?
16 sheets and the gold sheets. 16 I'm talking about pharmacies, independent
17 And my question is do you recall that gold 17 pharmacies represented through GPOs, group
18 sheets included AWPs? 18 purchasing organizations, or chain drug stores.
19 A I'm not positive. I'd have to look at a 19 A Uh-huh.
20 gold sheet. But J believe they did, but I can't 20 Q Isn't it true, sir, that when Roxane
21 swear to it. 21 negotiated market pricing with GPOs, representing
22 Q You mentioned earlier in your testimony that 22 pharmacies or chain drug stores, that they did so
287 289
1 gold sheets were created upon launch of a drug; 1 ona dollar price as opposed to a percentage off
2 correct? 2 AWP?
3 A Launch of a drug, discontinuation of a drug, 3 A They did both. They would give them a
4 change in pricing of a drug. 4 contract price, and it usually was accompanied
5 Q And the gold sheets typically went out to 5 with, "That's a 60-, 70-percent discount from AWP."
6 the Roxane sales force; correct? 6 Q Why do you find that that reference to AWP
7 A Yes. 7 ‘in connection with the contract price was made?
8 Q And it's your best memory that the gold 8 MS. RIVERA: Object to form.
9 _ sheets most likely included AWP information; 9 THE WITNESS: Why was the reference made?
10 correct? 10 Q BY MR. ANDERSON: Yes, sir.
11 A Yes. 11 A Just as a benchmark. People like to know
12 Q Why did the gold sheets include AWP 12 where their price stood.
13 information? 13 Q Is it also true that that reference to AWP
14 A For pricing reasons. Most prices were based |14 and contract price was an easy way for the pharmacy
15 on discount from AWP. 15 to evaluate spread?
16 Q Most prices to whom? 16 MS. RIVERA: Object to form.
17 A To retail trade, to whomever we sold. 17 THE WITNESS: Possibly, yes.
18 Q It's your belief that when Roxane was 18 Q BY MR. ANDERSON: Is it your testimony that
19 negotiating prices with drug stores, for instance, 19 that's the typical mechanism by which Roxane
20 they would do so based off AWP? 20 offered pricing to pharmacies?
21 MS. RIVERA: Object to form. 21 MS. RIVERA: Object to form.
22 THE WITNESS: They would negotiate? I'm not [22 THE WITNESS: Is it my -- no. That's not my

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